                                DECISION
{¶ 1} This cause came on to be considered upon a notice of appeal, the transcript of the docket and journal entries, the transcript of proceedings and original papers from the Butler County Court of Common Pleas, a brief filed by appellant's appointed counsel, a pro se brief filed by appellant and a response thereto filed by appellee, the state of Ohio, oral argument having been waived. *Page 2 
  {¶ 2} Counsel for defendant-appellant, Michael Harding, has filed a brief with this court pursuant to Anders v. California (1967),386 U.S. 738, 87 S.Ct. 1396, which (1) indicates that a careful review of the record from the proceedings below fails to disclose any errors by the trial court prejudicial to the rights of appellant upon which an assignment of error may be predicated; (2) lists three potential errors "that might arguably support the appeal," Anders at 744,87 S.Ct. at 1400; (3) requests that this court review the record independently to determine whether the proceedings are free from prejudicial error and without infringement of appellant's constitutional rights; (4) requests permission to withdraw as counsel for appellant on the basis that the appeal is wholly frivolous; and (5) certifies that a copy of both the brief and motion to withdraw have been served upon appellant. Appellant's pro se brief raises two assignments of error.
  {¶ 3} We have accordingly examined the briefs and the record and find no error prejudicial to appellant's rights in the proceedings in the trial court. The motion of counsel for appellant requesting to withdraw as counsel is granted, and this appeal is dismissed for the reason that it is wholly frivolous.
YOUNG, P.J., WALSH and POWELL, JJ., concur.
                             JUDGMENT ENTRY
The brief of appellant, filed pursuant to Anders v. California (1967),386 U.S. 738, 87 S.Ct. 1396, the pro se brief of appellant and the state's response thereto, properly before this court and having been considered by the court, it is ordered that the motion of counsel for appellant requesting to withdraw as counsel is granted, and this appeal is hereby dismissed for the reason that it is wholly frivolous.
It is further ordered that a mandate be sent to the Butler County Court of Common Pleas for execution upon this judgment and that a certified copy of this Judgment Entry shall constitute the mandate pursuant to App.R. 27.
  Costs to be taxed in compliance with App.R. 24. *Page 1 